ease1:10-cv-00298-EJL-LMB Documeml Filed 06/15/10 PAQ|QS.&BQBJRTS

 

Sterling Mortensen ~IUN 1 5 2010
4282 N Forest Meadow Ave . Rcvdij_|:"ed Time g,'$'a_
Boige, Idaho 837()4 EL|ZABETH A. SNI|TH

CLEFIK, DlS'l`P.!CT OF lDAHO

 

U.S. District Court for the District of Idaho

 

Brenda Burton,
Steve Fritts
Sterling Mortensen

Plaintiff(s),

v_ CivilNumber ‘| O ~ 0 Z 9 8 ' C V C.W_D

COUNTRYWIDE BANK, FSB,

BANK OF AMERICA (BOA),

FIDELITY NATIONAL TITLE INSURANCE
C()_, CO|V|PLA|NT
BAC HOME LOANS SERVICING, LP, FKA
COUNTRYWIDE HOME LOAN SERVICING
LP,

MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, “MERS”,
RECONTRUST COMPANY, N.A.

Does 1-10

Defendant(s)

 

 

COMPLAINT

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Cornes now Sterling Mortensen, Brenda Burton & Steve Fritts, hereinafter referred to as

“Plaintiff(s),” and moves the court for relief as herein requested:
Palties:

PLAINTIFF(S)
1. Plaintiff(s) are Sterling Mortensen, 4282 N FOREST MEADOW AVE, BOISE, Idaho

[83704] hereinafter referred to as “Plaintiff.” A son of God appearing in Propria persona

under the Constitution of the State of Idaho, is domicil in this State of Idaho, near the

city of Boise.

COMPLAINT 1 of 55

Case 1:10-cv-00298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 2 of 25

2. Plaintiff(S) are Brenda Burton, P.O. Box 271279, Salt Lake City, UT 84127, hereinafter
referred to as “Plaintiff.” A daughter of God appearing in Propria persona under the
Constitution of the State of ldaho and Utah, is domicil in this State of Utah, near the city
of Salt Lake. '

3. Plaintiff(s) are Steve Fritts Plaintiff(s), 5509 Dartmouth Ave, River Oaks, TX 76114
hereinafter referred to as “Plaintiff.” A son of God appearing in Propria persona under
the Constitution of the State of Idaho and Utah and Texas, is domicil in this State of
Texas, near the city of Fort Worth.

THE PROPERTY IN DISPUTE and DEED OF TRUST AND ACCOUNT lN DISPUTE IS:

Re: Supposed Original Loan number 189325501

- lnstrument/ recording number 108014446 signed February lst, 2008 recorded February 8th,
2008 @ 4:31 PM in ADA COUNTY, BOISE IDAHO

Doc ID # 00018932550102008, MlN 1001337-0002938843-9
Purported Legal Description:
COUNTY OF ADA

LOT 4, IN BLOCK 2 OF CASCADING MEADOWS SUBDIVISION NO. 2, ACCORDING
TO THE OFFICIAL PLAT THEREOF, FILED lN BOOK 96 OF PLATS AT PAGE 11921-
11923, RECORDS OF ADA COUNTY, IDAHO l

4. Parcel ID Number R1311010200

5. P`urported Property Address: 4282 N FOREST MEADOW AVE, BOISE [83704]

6. CURRENTLY KNOWN DEFENDANT(S)

7. Defendant(s) are/is: COUNTRYWIDE BANK, FSB , c/o 1199 North Fairfax Street, Ste
500 Alexandria VA 22314, represented by and through it’s attorney, hereinafter referred

to as “Lender,” or “Defendant(s),”

8. Defendant(s) are/is BANK OF AMERICA “BOA”, c/o REGISTERED AGENT CT
CORPORATION SYSTEM 818 WEST 7TH STREET, LOS ANGELES, CA 90017,

COMPLAINT 2 of 55

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Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 3 of 25

represented by and through it’s attorney, hereinafter referred to as “Servicer,” or

“Defendant(s),”

Defendant(s) are/is FIDELITY NATIONAL TITLE INSURANCE CO., REGISTERED
AGENT CT CORPORATION SYSTEl\/l 818 WEST 7TH STREET, LOS ANGELES,
CA 90017, represented by and through it’s attorney, , , , , hereinafter referred to as

“Trustee or “Defendant(s),” .

Defendant(s) are/is Mortgage Electronic Registration Systems “MERS”, P.O. Box 2026
Flint, M148501~2026, represented by and through it’s attorney, , , , , hereinafter referred
to as “Beneficiary,” or “Defendant(s),” “MERS”. `

Defendant(s) are/is BAC HOME LOANS SERVICING, LP, FKA COUNTRYWIDE
HOME LOANS SERVICING LP, c/o REGISTERED AGENT CT CORPORATION
SYSTEM 818 WEST 7TH STREET, LOS ANGELES, CA 90017, represented by and
through it’s attorney, , , , , hereinafter referred to as “SERVICER,” or “Defendant(s),”

Defendant(s) are/is RECONTRUST COMPANY, 1800 Tapo Canyon Road CA6-914-
01-94 Simi Valley, CA 93063, represented by and through it’s attorney, , , , , hereinafter

referred to as “Holder of the Note”, “Lender” or “Defendant(s),”
Does 1-10, , , , hereinafter referred as “Defendant(s).”
JURISDICTION
This Court had jurisdiction over the subject matter of this action pursuant to USDC rules.

it has limited jurisdiction in that they can only hear cases that fall both Within the scope
defined by the Constitution in Article 111 Section 2 and Congressional statues See 28
U.S.C. §1251, §1253, §1331, §1332. US Constitution Article 3 Section 2 and there is a
federal question of Truth in Lending Act, Real Estate Settlement Procedures Act, 12

USC § 38A, and federal foreclosure laW.

The Defendants are all doing business in this State of Idaho.

The supposed contract in dispute Was signed in this State of Idaho.

The Defendant(s) are attempting a Trustee Sale Without proof of Standing.

The Land and improvements Which are the subject matter of this case in question are in

the state of Idaho.

COMPLAINT 3 of 55

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Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 4 of 25

Brenda :Burton and Steve Fritts are Native Americans and are requesting United States

District Court herein after USDC Jurisdiction pursuant to Treaty Law.

The USDC has subject matter jurisdiction over commerce and real estate issues fall

under commerce and money. See Jurisdiction defined by the Cornell School of Law.
The USDC has supplemental jurisdiction because of Title 28 Sec 13 62 and 67.

The USDC has supplemental jurisdiction because Aricle 1 Section 8 Clause 5 of the

Constitution.
The USDC has supplemental jurisdiction because of Article 1 Sec 10.
The USDC has Jurisdiction because the dispute is about “securities Fraud”

The USDC has Jurisdiction because the action of Defendant(s) Crossed State Lines and

this issue is now involving RlCO.
The USDC has Jurisdiction because sought relief is over $75,000.
The USDC has Jurisdiction because of diversity.
STATEMENT OF FACTS
On February lst, 2008, Sterling J. Mortensen, signed a “Note” and a “Deed of Trust” and
‘GLOan),
At this time Sterling Mortensen was very unlearned of law and how mortgages worked
at that time.

Shortly after signing the “Note” and “Deed of Trust”, On the News, in the papers there
started being reports of mortgage fraud, securities fraud. See exhibit K.

At this time, there started being rumors about “MERS” and RECONTRUST,
WASHINGTON MUTUAL, and many mortgages related companies being in trouble

and fraud being involved in their loans.

The above reports Started Sterling Mortensen, Brenda Burton and Steve Fritts to start
studying “Mortgages”, “Loans”, “Notes” and “Deeds of Trusts”, “MERS”, “Washington
Mutual”, “Banl< of America”, RECONTRUST. SEE EXHIBITS , B, C, D, E,R,G, H, 1,

KAND Z

On October 16th, 2009, Sterling Mortensen was sent a letter from Amy Zillinger and

Deedra Williams, not notarized it was a notice of Default saying she was signing for

COMPLAINT 4 of 55

 

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Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 5 of 25

RECONTRUST COMPANY, N.A.. RECONTRUST COMPANY, N.A. was not the
Trustee at that time and this was a fraudulent letter. See exhibit Q.

On October 16th, 2009, Sterling Mortensen was sent a letter from Deedra Williams
“Notice of Trustee’s Sale” She says she works for RECONTRUST COMPANY, N.A.,
RECONTRUST COMPANY N.A. was not the Trustee on this date and this was a
fraudulent letter. See exhibit Q. l

The above mentioned Default and Trustee Sale were signed by Amy Zillinger and
Deedra Williams and the letters say they are from California but, only the certificate of

mailing is notarized and comes from California.

Amy Zillinger and Deedra Williams are living in Texas and RECONTRUST is not in
good Standing in California nor Texas and letters are being sent across state lines that are

Fraudulent. (Mail Fraud, Utter, Crimen False) See exhibits Q and Z.

On October 27th 2009, an appointment of Successor Trustee was Recorded the Trustee
went form an unknown entity( this is a RESPA violation) to RECONTRUST
COMPANY. lt was notarized October 22, 2009 days after the Notice of Default and
Trustee Sale notice proving the Notice of Default and Trustee sale were fraudulent See

exhibits P, Q and R.

The appointment of Successor Trustee was fraudulent Who is BAC HOME LOANS
SERVICING, LP FKA COUNTRYWIDE HOME LOANS SERVICING LP. They are
not mentioned on the Original Deed of Trust see exhibit A and have no authority to

change Trustee. Another Fraudulent Document from Defendants. Crimen Falsi and

Utter

According to the Deed of Trust the Beneficiary Was “l\/IERS” and according to MERS
web site, the beneficiary can never be changed from “MERS” so there can be no

unbroken chain from lender to lender and trustee to trustee. See exhibit A, P, Q and R

On`October 27, a CORPORATE ASSIGNMENT from an unnamed entity to BAC
HOME LOANS SERVICING, LP FKA COUNTRYWIDE HOME LOANS
SERVIC]NG LP was recorded. This document is also fraudulent According to RESPA
and TILA, the documents must describe all parties involved and Stephen Gross was the

Signatory for BAC HOME LOANS SERVICING, LP FKA COUNTRYWIDE HOME

d LOANS SERVICING LP and he is now the Assistant Secretary for “MERS”. (Identity

Fraud, Fraud by Conversion, Utter, Crimen Falsi) See exhibits P, Q and R

COMPLAINT ' 5 of 55

 

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Case 1:10-cv-'OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 6 of 25

“MERS” has been found to have no beneficial interest and the Supreme Court of
KANSAS, and Many other Courts have ruled that MERS can not assign Deeds of Trusts
nor can they Change a Trustee or Beneficiary. 1t has to be the “lender” who has
beneficial interest or the original Trustee then Successor Lender and Successor Trustee

have authority. See exhibits 1 and DD

Stephen Gross works for BAC HOME LOANS SERVICING, LP, FKA
COUNTRYWIDE HOME LOANS SERVICING LP and he fraudulently signed the
documents giving his company BAC HOME LOANS SERVICING, LP, FKA
COUNTRYWIDE HOME LOANS SERVICING LP the DEED of Trust and that no
person from WASHINGTON MUTUAL ever assigned the “DEED OF TRUST” to him
or any other company and all of the Documents in Exhibits P, Q and R are Fraud by

conversion, Fraud by omission, Identity Theft Fraud.

These Three documents alone are a breach in the “Deed of Trust” contract which null
and voids said contracts and Defendants have no authority to enforce the “Deed of

Trust” and Foreclosure See exhibits P, Q and R.

The Appointment of Successor Trustee is signed by Stephen Gross Who says he is the
Assistant Secretary of BAC HOME LOANS SERVICING, LP, FKA COUNTRYWIDE
HOME LOANS SERVICING LP. 1n the Next letter he says he is the Vice President of
MERS and he assigns the “Deed of Trust” to his own company.

On November 30th, 2010, Sterling Mortensen'sent »Defendants a Certified Request for
Debt Verification Validation Pursuant to and through The Fair Debt Collections
Practices Act 15 U.S.C. §§ 1692-1692p further known as the FDCPA. See exhibit Y

The Debt Verification and Questions were Sterling Mortensen’ notice of Default and

NOTICE OF Trustee Sale sent middle of November.

Sterling Mortensen was not in Default.

With the request for Debt Verification were detailed questions to be answered by a

qualified banker pursuant to and through 12 CFR 226. See exhibit Y.

Plaintiffs had by now researched the mortgage industry and mortgage fraud and were
asking specific questions the answer of which would expose DEFENDANTS, bank
fraud, These questions were never answered. See Exhibits B, C, D, E, F, G H, 1 and K.

(Please read exhibit K first)

COMPLAINT 6 of 55

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Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 7 of 25

According to the FDCPA, Defendants had 30 days in which to answer the questions in
Exhibit Y or the debt was free and clear. There was no timely/Adequate Response. The

“Note” and “Deed of Trust” were clear from this point on.

According to the Real Estate Settlement Procedures Act 12 U.S.C. 2601 et seq. further
known as RESPA, Defendants had 60 days to answer the questions in Exhibit Y or the

' house was free and clear. There was no timely/Adequate response. The “Note” and

“Deed of Trust” were clear from this point on.

On January 8th, 2010, Plaintiffs sent a Notice of Default with Opportunity to Cure.
There was no Timely/Adequate response. This Satisfied the requirements of FDCPA,
RESPA and the Truth and Lending Act 12 CFR 226 Regulation Z further own as Reg Z
and the Truth and Lending Act 15 U.S.C. 1601, further known as TILA. By Their
Silence, Defendants Acquiesced to the first Letter and offer of payment in Full and
according to Idaho Code, Title 9 Evidence, Chapter 15 Tender and Receipt 9-1501, a
“Written offer equivalent to tender. An offer in writing to pay a particular sum of money,
or to deliver a written instrument or specific personal property, is, if not accepted,
equivalent toe actual production and tender of the money, instrument or property.” See

exhibit Y
Defendant(s) were offered payment in full twice and there was no answer.

Pursuant to and through ldaho Code Title 9-15-1, the “Deed of Trust” and “Note” are

satisfied and Defendants have no Standing to enforce the “Deed of Trust”.

On January 8th, 2010, Sterling Mortensen Sent a Notice of Right to Cancel with
addendum/Affidavit, there was no Adequate Response See exhibit Y. The Right to
cancel is triggered after someone realizes that there Were fraudulent dealing at closing

and no Truth in Lending full disclosures

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Because the Deed of Trust contract had been breached in October and at Closing, On
January 8th, 2010, Sterling Mortensen sent Defendants a Removal of Trustee and

Beneficiary. There was no Response See exhibit Y.

Because the Deed of Trust contract had been breached in October, Sterling Mortensen
Sent Defendants On January 8th, 2010, a rescission of Power of Attorney and Signatures

on the “Deed of Trust”. See TILA AND RESPA and exhibit Y. There was no response

COMPLAINT 7 of 55

 

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Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 8 of 25

On February 10th, 2010, Plaintiffs received a letter that had false and misleading
statements, (Crimen False, Utter) BAC and Michael N. DeAngelo did not try to send
legible copies (they sent form letters that had some second page of a different letter

superimposed on the letter) See exhibit L)

On of the False statements of the form letteereAngelo said that Defendants had no
Right to Cancel and that Plaintiffs had received full disclosure in the Truth and Lending
Disclosure Statement. Further known as TlLDS. The F act that there were Three TILDS
in the closing papers none of Which were in the acceptable parameters of TILA and

RESPA. See exhibits A, J, L, M and N.

The law states that the right to cancel is triggered by Truth in Lending full disclosure.
This was one of the reasons Plaintiffs sent exhibits Y, EE and FF. There has still been
no Disclosure so Sterling`Mortensen exercised the right to cancel on January 8th, 2010.
This was well within the 3 years a person has to find problems with their mortgage See

RESPA and TILA.

Sterling Mortensen is not denying that he signed documents “Loan”, “Note” and “Deed
of Trust” on February lst, 2008, Sterling Mortensen is claiming that he had no full
disclosure, that fraud by Conversion, Fraud by inducement, Fraud by omission,
Appraisal Fraud, Crimen Falsi, Utter, False Securities and Constitutional rights

violations vitiate all contracts and that the above documents are null and void.

On February 14, 2010 a Default Judgment was Journaled by a Public Notary who noted
there were no responses to the letters sent out in exhibit Y and that ACCORDING TO
TITLE 5 of the U.S.C, administrative remedies, the Defendants owed Plaintiffs as
follows: ADJUSTED TRUE BILL: $2,556, 772.26, USD per Defendant
COUNTRYWIDE BANK, FIDELITY NATIONAL TITLE INSURANCE CO, BANK
OF AMERICA, “MERS’, RECONTRUST COMPANY AND BAC HOME LOANS
SERVICING, LP, FKA COUNTRYWIDE HOME LOAN SERVICING LP, FOR A
SUM CERTAIN $15,340, 633.56. Brenda Burton and Steve Fritts are asking for Clear
Title to the home they purchased from Sterling Mortensen. This is a True Bill. Plaintiffs
reserve the right to adjust this true bill and ledgering upon discovery. SEE EXHIBIT X.

On March 9, 2010, Sterling Mortensen exercised his right as the Trustor in the “Said
Deed of Trust” and Placed Brenda Burton as the New Beneficiary of Said Deed,
Replacing MERS. See exhibit U

COMPLA]NT 8 of 55

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 9 of 25

65. On March, 9, 2010, Brenda Burton, as successor Beneficiary, Put Steven Ray Fritts as
the Successor Trustee he replaced FIDELITY NATIONAL TITLE INSURANCE CO.,
and RECONTRUST COMPANY, N.A. See Exhibit T.

66. On March 9, 2010 Sterling Mortensen Quit Claimed said property to Brenda Burton and

Steve Fritts Without warranty.

67. On March 9th, 2010 Steve Fritts and the newly appointed Trustee, Reconveyed said
property back to Sterling Mortensen. See exhibit V

68. On 3-12-2010 a FBI PACKET was sent to the FBI and all Defendants with the exhibits

' A-Z. See exhibit EE. There was no response.

69. On April 4th,2010 Plaintiff’s sent a last letter trying to remedy the situation with

Defendants. There has been no answer. See exhibit.FF

70. PLAINTIFFS have exhausted their administrative remedies.

71 . By Defendants Silence, Defendants agree they owe Plaintiffs ADJUSTED TRUE
BILL: $2,556, 772.26, USD per Defendant COUNTRYWIDE BANK, FIDELITY
NATIONAL TITLE INSURANCE CO, BANK OF AMERICA, “MERS’,
RECONTRUST COMPANY AND BAC HOME LOANS SERVICING, LP, FKA
COUNTRYWIDE HOME LOAN SERVICING LP, FOR A SUM CERTAIN $15,340,
633.56. This is a True Bill.

Statement of Cause

72. Defendant(s) by and through his/her purported Substitute Trustee, RECONTRUST
COMPANY N.A. initiated a foreclosure action against Plaintiff(s) by filing documents
with the county recorders office, having failed to comply with the requirements of Idaho
Code Title 41 Chapter 3336 proof of Claim, and therefore, and the requirements of a

Trustee Sale. The documents recorded were fraudulent

73. Defendant’s Trustee, RECONTRUST COMPANY N.A. was NOT lawfully put in as
Trustee since the Party who put them in as Substitute Trustee was “MERS” who has no
beneficial interest and can not act as ‘nominee for lender” see IN THE SUPREME
COURT OF THE STATE OF KANSAS No. 98,489, and the LANDMARK
NATIONAL BANK, Plaintiff/Appellee, v. MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC. lawsuits Exhibits 1, Z and DD.

COMPLAINT 9 of 55

 

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Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 10 of 25

. Defendant’s Substitute Trustee, RECONTRUST COMPANY N.A. is not the Substitute

Trustee was removed on or about March 9, 2010.F

Defendant’s Substitute Trustee, RECONTRUST COMPANY N.A. caused to be initiated
the foreclosure with full knowledge that the foreclosure was frivolous as “Lender” BAC
HOME LOANS SERVICING, LP, FKA COUNTRYWIDE HOME LOAN
SERVICING LP they represented was also put in by BAC HOME LOANS
SERVICING, LP, FKA COUNTRYWIDE HOME LOAN SERVICING LP and
“MERS” and had no standing nor authority to do _so. 7

Defendant(s), “RECONTRUST” and “MERS” are not in good standing in Idaho,

California or Texas. See exhibit Z

“MERS” and the mortgage industry are in collusion to foreclose on as many homes as

possible without proof of claim.

RECONTRUST was sending their letters from Texas but pretending to be in California.
See exhibit AA. `

“MERS” is in collusion with other Mortgage companies See exhibit BB.

COUNTRYWIDE BANK, FSB who was the original “Lender” was prosecuted for

mortgage fraud and is no longer in business.

Plaintiff(s) requested from all Defendant(s) a chain of command of what happened to the
“Original Lender” COUNTRYWIDE BANK, FSB and “Original Trustee” FIDELITY
NATIONAL TITLE INSURANCE CO the Original “Beneficiary” “MERS” (we
challenged “MERS” as the beneficiary after reading the “MERS”/Landmark case),

Plaintiffs asked who then was the lender, the trustee, the Beneficiary. . .no answers were

forthcoming

Plaintiffs demand to know who Defendants are and Specifically what standing
defendants have with Plaintiff(s) “Note”/”Deed of Trust” There was no answer. See

exhibits A, J, Y, EE and FF.

Plaintiff(s) would like an accounting from BAC HOME LOANS SERVICING, LP, FKA
COUNTRYWIDE HOME LOAN SERVICING LP and What specifically they have to
do with the “Note”, “Deed of Trust” and who put them in as “Substitute Lender”.

. After careful reviewing of all Document(S) filed at the County Recorders office, it

Seems that the Recorders Office is allowing recordings from the “Mortgage” Companies,

COMPLAINT 10 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 11 of 25

“Trustee”, “Beneficiaries”, and “Security” Companies to be ambiguous as to WHO the

“Holder of the Note is the Lender” and Beneficiary is.

85. Many times when recording Substitution of Trustee’s, Assignment of Deeds, the signing
party does not identify themselves with an address for communication and many times
the Assigned party is not given an Address, Sometimes this happens on the Deed of
Trust itself. This clouds the “Deed of Trust” and “Note” enough to make it null and

void.

86. This is what “MERS” and BAC HOME LOANS SERVICING, LP, FKA
COUNTRYWIDE HOME LOAN SERVICING LP did on the “The Assignment of
Deed” and the “Substitution of Trustee”. Plaintiffs have no idea Which company
assigned the Trustee it was not anyone from the original Deed of Trust and the
Assignment of Deed of Trust appears to be done by the same company receiving the
Deed of Trust (RESPA, TILA, SECURITIES FRAUD, CRIMEN FALSI, UTTER,
FRAUD BY CONVERSION, FRAUD BY OMISSION. See Exhibits K, G, C and D

87. “MERS” gives no mailing address of where they are and how to contact them. Plaintiffs
called the comptroller for Texas and the comptroller said “MERS” nor RECONTRUST
COMPANY N.A. have no business license in the State of Texas and con not be sending
letters across state lines. See Exhibit P, Q, R, Z and AA and CC.

88. 1n exhibit CC, RECONTRUST COMPANY sent out legal notice before they were .
fraudulently put in as substitute trustee and according to RESPA, FDCPA, and TILA, all
letters must be signed. Violations of RESPA, FDCPA, TlLA, AND FDIC act.

89. Plaintiff(s) requested debt verification and made demand that all Defendant(s) make the
contract, on which their fraudulent claims were made, available for inspection by
Plaintiff(s) as required under Uniform Commercial Code 3-501, FDCPA, RESPA AND
1daho Code Title 41 Chapter 3336. There was no response. See exhibit Y '

90. The Deed of Trust is simply a security agreement, which Sterling Mortensen was
induced to fraudulently signed because Defendants(s) failed to disclose all information
about the “Note” and the “application” and the “deed of Trust” and Hidden fees not
disclosed at the time of closing. Read 14 USC 78 c Section 10. That the Prornissory
Note is a Security and not a promissory note. A promissory note can not exceed the life

span of nine moths. Sterling Mortensen signed and created a thirty-year note. The note

CoMPLAlNT 11 of 55

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 12 of 25

is not a “promissory note”, it is asecurity instrument See Exhibit A, Exhibit B, Exhibit

G

91. Defendants failed to disclose to Sterling Mortensen the “Note” and/or “Deed of Trust”
would be put into a trust that manages mortgaged back securities and that a account
Would be set up in Sterling Mortensen’s name with a asset account in Sterling
Mortensen’s name for the amount of the “Loan”, “Note and or “Deed of Trust” and
dividends from the hedge funds and trusts would go in said accounts and show up as a
positive asset for Sterling Mortensen. None of this was disclosed nor has any of these

funds been made available to Sterling Mortensen. See Exhibit C, D, G

92. There Was no full disclosure at closing and none of the Defendant(s) were at closing to
explain the “Loan Process” to Plaintiff(s) and no one explained that the “Note” and the
signature on the “Note” paid for the funds that satisfied the debt and fraudulently
induced Plaintiff(s) into signing the “Deed of Trust” which placed the disputed property
into the control of undeserving 3rd Parties. See exhibits C, D, G and K

93. For Defendants failure to disclose said accounts, profits, the true nature of the “Note,
“Deed of Trust and “Loan” and the nature of said accounts and investments, Sterling
Mortensen had the right to cancel the security agreement “Deed of Trust” for failure to
disclose, which is a violation of Regulation Z. Non disclosure is also a violation of the

Code of Federal regulations 12 CFR 226.23 See Exhibits A, C, D and G.

94. Code of Federal regulations 12 CFR 226.23 does state that it s not applicable for
mortgages (a deed of trust is not a mortgage), except in case of fraud. Fraud vitiates all
contracts Defendant(s) silence is Defendant(s) agreement to the fraud, see U.S. vs
Tweel. Defendant(s) have breached the “Deed of Trust” contract by not having a
qualified banker answer the questions in the first presentment point by point in affidavit
form nor having said banker answer the questions in the Default with Opportunity to

cure and the questions included in the FBI packet, and the Last letter sent April 3, 2010.
'See exhibits Y, EE and FF. -

95. Defendants failed to explain to Sterling Mortensen that According to the Uniform
Commercial Code the funding source belongs to the signer but Respondent(s) didn’t
disclose that to affiant(s). The promissory note has no validity until affiant(s) sign it.
The funding source to the promissory note is exclusively to the signer(s) and since

affiant(s) are the only person(S) that signs it its affiant(s) note. See exhibits D, and G

COMPLAINT 12 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 13 of 25

96. Defendants failed to explain that the funding source was Sterling Mortensen’s Signature,
UCC 8-102 tells about the entitlement right to the funding source Which is affiant(s)
signature See Exhibits A, J, B, C, D and G

97. Defendants failed to explain that before signing the Deed of Trust that the Property was
Sterling Mortensen’s Property and was Free and Clear of all encumbrances and that
when Sterling Mortensen Signed the Deed of Trust, instead of being the full outright
owner he became a Tenant and The “Deed of Trust” is the Security Agreement that
allows Respondent(s) to evict Affiant(s). . If the “Deed of Trust” signatures are rescinded

then you cannot evict Affiant(s). See Exhibit Y.

98. COUNTRYWIDE BANK, FSB, acting in concert and collusion with others, induced

Plaintiff(s) to enter into a predatory loan agreement with Plaintiff(s).

99. COUNTRYWIDE BANK, FSB, BANK OF AMERICA (BOA), FIDELITY
NATIONAL TITLE INSURANCE CO., BAC HOME LOANS SERVICING, LP, FKA
COUNTRYWIDE HOME LOAN SERVICING LP,MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, “MERS”, RECONTRUST COMPANY, N.A. numerous
acts of fraud against Plaintiff(s) in furtherance of a carefully crafted scheme intended to

defraud Plaintiff(s).

100. COUNTRYWIDE BANK, FSB, BANK OF AMERICA (BOA), FIDELITY
NATIONAL TITLE lNSURANCE CO., BAC HOME LOANS SERVICING, LP, FKA
COUNTRYWIDE HOME LOAN SERVICING LP,MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, “MERS”, RECONTRUST COMPANY, N.A. failed to
make proper notices to Plaintiff(s) that would have given Plaintiff(s) Warning of the

types of tactics used by Defendants to defraud Plaintiff(s).

101. COUNTRYWIDE BANK, FSB, FIDELITY NATIONAL TITLE INSURANCE CO
and “MERS” charged false fees to Plaintiff(s) at settlement.

102.F1DELITY NATIONAL TITLE INSURANCE CO and COUNTRYWIDE BANK, FSB
and “MERS” used the above referenced false fees to compensate agents of Defendant(s)

in order to induce said agents to breach their fiduciary duty to Plaintiff(s).

In Brief

(Non-factual Statement of Posture and Position)

COMPLAINT 13 of 55

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 14 of 25

103.1t is not the intent of Plaintiff(s) to indict the entire industry. Plaintiff(s) Will be making
a number of` allegations that, outside the context of the current condition of the real estate

industry, may seem somewhat outrageous and counter-intuitive.

104.When defendant(s) ask questions to the Plaintiff(s) and the Plaintiff(s) do not respond
then default judgments seem to be granted readily, when the Plaintiff(s) under the law
ask questions of the Defendant(s), Defendant(s) seem to think they are above the law and
accuse Plaintiff(s) of getting schemes off of the internet and such and the Defendants(s)
do not feel they have to reply. The United States Supreme Court says “when a party has
the duty to speak and they remain silent then fraud can be meant to be perpetrated”. See
US vs Tweel.

105.When Plaintiff(s) accuses Defendant(s) of acting in concert and collusion with an
ongoing criminal conspiracy, it tends to trigger an incredulous response as it is
unreasonable to consider that all Agents, loan agents, appraisers, and other ordinary
people, just doing what they have been trained to do, are out to swindle the poor
unsuspecting boirower.v

106.The facts Plaintiff(s) is prepared to prove are that Plaintiff(s) has been harmed by fraud
committed by all Defendants concert and collusion, one with the other. Plaintiff(s) have
reason to believe that the Agent, loan officer, appraiser, bank, lender, beneficiary,
trustee, servicers and others are consciously aware that what they are doing is part of an
ongoing criminal conspiracy, and that they can be accused of RESPA Violations,
FDCPA, TILA, UTTER, Crimen Falsi, Fraud and Deceit, Identity Fraud, Mail Fraud,

Fraud by Conversion, Fraud by omission and many other State, Federal and UCC

violations.

107.Many of the Defendants actions crossed state lines and falls under RlCO.

108.Carefully Crafted Criminal Connivance

109.(General State of the Real Estate lndustry)

CAREFULLY CRAFTED CRIMINAL CONNIVANCE

(General State of the Real Estate Indusz‘ry)

The Best of Intentions

COMPLAINT 14 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 15 of 25

110.President Clinton’s administration, under the guise of making housing available to the
poor, primary protections were relaxed which had the effect of releasing the money

changers on us all. See modern money mechanics and the Gramm-Leach-Bililey Act.

111.With the protections removed, the money changers swooped in and, instead of making
loans available to the poor, they used the “Note” and “Sterling Mortensens ” signature
to “Loan the “Sterling Mortensens” own money back to “themselves”. There was NO

MONEY LOANED, and no consideration or chance of loss on the “Banks” part.

112.WaMu, COUNTRYWIDE BANK, FSB and Bank Of America and BAC HOME
LOANS SERVICING, LP, FKA COUNTRYWIDE HOME LOAN SERVICING LP,
and many others swooped in and convinced Americans to sell their homes or refinance
their home, get out of the “safe” “mortgage agreements”, and speculate with the equity
in their homes by purchasing homes they could not afford. The Banks appraisers,
appraised the Home owners homes well above the homes true value and caused upside
down “Mortgages”. COUNTRYWIDE BANK, FSB did this. Lenders created “loans”
intended to fail as, under the newly crafted system, the Lender profited more from a
mortgage default than from a stable “loan”. Now Plaintiffs know the Signature/”Note”¢
funds the entire mortgage. . . .this shows more fraud and deceit on the “Lenders” side and

the theft of Home owners property and is unconstitutional and unconscionable

113.Companies cropped up who called themselves banks when, in fact, they were only either
subsidiaries of banks, or unaffiliated companies that were operated for the purpose of
creating and selling promissory notes, bundling these (Security) instruments and selling
them to Hedge funds, over inflating their value the “WaMu” and Countrywide cases on
'l`V are a prime example. Then the “Lender”, “trustee” and Substitute Trustee”
profiting from the foreclosure of the homes, then profiting from the failure of the
underlying loans bad loans “Countrywide bank” on TV now. HELLO BAC HOME
LOANS SERVICING, LP, FKA COUNTRYWIDE HOME LOAN SERVICING LP and
RECONTRUST COMPANY N.A., “MERS” we are talking about you here.

FRAUD AND DECEIT

114.1f you look under 1daho Code Title 30-14-501. GENERAL FRAUD. “It is unlawful for

a person, in connection with the offer, sale or purchase of a security, directly or

indirectly:

COMPLAINT 15 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 16 of 25

a. To employ a device, scheme, or artifice to defraud;

b. To make an untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in light of the circumstances

under which they are made, not misleading; or

c. To engage in and act, practice or course of business that operates or would
operate as a fraud or deceit upon another person. See Title 15 U.S.C. We didn’t

even know we were signing a security instrument. ..

115.Because of the fraud, Sterling Mortensen places a Demand Notice/Complaint for

rescission of agreement induced by the fraud. See exhibits Y and FF.

116.Sterling Mortensen signed a “Deed of Trust”, he was led to believe he was getting a

mortgage.
117.Sterling Mortensen was led to believe he was borrowing “Money”.

118.Sterling Mortensen was led to believe the “Mortgage Company lent him “Money” from
an account at the “Bank” that Was the banks “Money” and if the “Bank” and or
“Mortgage Company” Were not paid they “Bank”, “Mortgage Company” Would lose
assets and or “l\/loney”. See exhibits C,E , F and G

119.To have a Security lnstrument Title 15 U.S.C, both parties must sign the agreement
Sterling Mortensen was the creator of the “Note”, the Creator of the “Deed of Trust”, the
Grantor and the Trustor. The trustee(s) did not follow their fiduciary duty and did not

l give Trustor, Grantor, Plaintiff(s) any full disclosure.

1-20.Because of the Fraud, Sterling Mortensen is asking for CLAIM: ADJUSTED TRUE
BILL: $2,556, 772.26, USD per Defendant COUNTRYWIDE BANK, FIDELITY
NATIONAL TITLE INSURANCE CO, BANK OF AMERICA, “MERS’,
RECONTRUST COMPANY AND BAC HOME LOANS_ SERVICING, LP, FKA
COUNTRYWIDE HOME LOAN SERVICING LP, FOR A SUM CERTAIN $15,340,
633.56. This is a True Bill. Brenda Burton and Steve Fritts are asking for Clear Title to
the home they purchased from Sterling Mortensen.

121. The bank Misrepresented itself and used misleading statements, Claims, banking
procedures to secure the “Deed of Trust” and then give undeserving third parties a
interest in “Plaintiff(s) property. “MERS” and some Security invest company we do not

know how or Whom. .. Fraud pertaining to hidden costs at closing

COMPLAINT 16 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 17 of 25

122. Fraud pertaining to hidden costs at closing if you look at the Truth in Lending
Statements and the HUD one Settlement Statement and the “Note, The Costs are not in

the legal parameters allowed by TILA. See exhibits M and N.
123. Fraud where the agents did not disclose the entire “Loan Process”. See exhibit K

124.Fraud in transfer of promissory note - Misrepresentation as to “Lender” and or “Holder
of the Notes” identity - Crimen Falsi (Did the Trustee keep the “Note” and “Deed of
Trust” together, for the purposes that Mike Faulkner thought, to secure a “Loan” or did
the “Note” and or “Deed of Trust” get Securitized and bundled with other like
instruments?) - See exhibits C, D and G.

125.Securities fraud because “Lender”, “Servicer”, “Trustee”, “MERS” and or other parties
known or unknown have sent several exact copies of the signed “Note” and “Deed of

Trust” to Plaintiff(s) and Defendant(s) and this is securities fraud. See Exhibits A and
126.These instruments were sent across State Lines which falls under RICO

127.False Representations made by Defendant(s) agents such as hidden closing costs, no full
disclosure of the Mortgage Process, the nature of the “Loan” and our closing papers had l
three TILDS (Truth In Lending Disclosure Statements) and the TILDS Statements were
not in the acceptable range to meet TILA AND RESPA requirements See exhibits M
and N.

128.1f Sterling Mortensens Deed of Trust is indeed a Security Instrument created by him,
why then did he not get paid any of the gains from said instrument being sold over and
over to retirement funds and Hedge funds and Bundled Securities instruments? See

exhibit K and G.

129.1t is obvious Plaintiffs are challenging and were challenging the loan Process and
Defendant(s) did Not follow U.S.C.Title 15 nor did they follow UCC 1-501 nor did they
follow FDCPA or RESPA. Once debt or instrument is challenged then all collective
activity must Stop until “the debt is proven and the holder of the instrument is proven to

have standing to collect and or all collection activity must stop”

130.Sterling Mortensen agrees he signed a “Loan”, a “Note”, and a “Deed of Trust”,
he is not challenging that he did so he is saying he was fraudulently induced to do
so and Was not given full disclosure at closing nor was he fully disclosed all of the

hidden fees and the back in cost of putting any fees into the loan for 30 years

COMPLAINT 17 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 18 of 25

131.By their Silence, the Defendant(s) have agreed they have committed “Fraud and Deceit”

See US vs Tweel.

132.By the Defendant(s) actions, undeserving Third Parties gained a Security lnterest in
Plaintiff(s) home, “Trusts”, “Hedge Funds”, “Wall Street”, “MERS”.

39 ¢‘

133.Defendant(s) knowingly misrepresented the “Loan , mortgage Process” and when
challenged say that is how the bank do it and the Defendant(s) did this with a reckless
disregard for it truth or falsity.

134.1daho Code Title 9-505 was violated through concealment of material facts

135.1f both parties were suppose to have consideration and gain and loss then this would be a
bilateral agreement and Defendant(s) did not sign any agreement With Plaintiff(s). See

Hunt v Hunt 1101daho 649, 718 p2d 560 (Ct. App. 1985)

136.1daho Code Title 9-503 the Transfer of Real property must be in writing Sterling
Mortenn thought the “Lender” or the “Trustee) was the holder of the Note at all
times and did not receive any documentation otherwise this was the Trustees
(FIDELITY NATIONAL TITLE INSURANCE CO, AND RECONTRUST
COMPANY, N.A.) and Lenders fiduciary responsibility and Defendants must
record any such transfer at the County Recorders (oh yeah, non of the Lenders or
Trustees wanted any of the “borrowerS” to know that “Lenders” and “Trustee” '

were making a killing on wall street with the “Sterling Mortensens instruments”.

137.The involvement of “MERS” has clouded this “Note”, “Deed of Trust” to the point that

any agreement supposed or in writing is null and void nunc pro tunc.

138.Plaintiff(s) understand that mortgages can be sold across state lines and such but,
Sterling Mortensen was not sold a mortgage he was made to sign a Security Instrument
that was sold to of Hedge Funds, Retirement Funds and the such and this Falls under
Security lnstruments and Plaintiff(s) do not believe the “Lender” or Defendant(s) have a
Security License in the State of ldaho.

139.COUNTRYW1DE BANK, FSB, BANK OF AMERICA, FIDELITY NATIONAL
TITLE INSURANCE CO, BAC HOME LOANS SERVICING LP, FKA

COUNTRYWIDE HOME LOAN SERVICING LP, Mortgage Electronic Registration
Systems “MERS”, RECONTRUST CGMPANY N.A. do not have business licenses of

in the state of Idaho.

COMPLAINT 18 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 19 of 25

140.. By Defendant(s) misrepresentation Sterling Mortensen was induced into signing
documents that gave undeserving third parties a security interest in his property and
horne the “Note” and the “Deed of Trust” are his property also and undeserving third

parties did get a security interest in said property

141.The unsuspecting consumer was lulled into accepting the pronouncements of the Agent,
the lenders, appraisers, underwriters and trustees and servicers as all were acting under

the cover of government regulation

l How it works

142.Briefly, how it works is this, the “Lender” would secure a large loan from a large bank
but the bank just gave the “Borrower” value for value of the “Promissory note” but then,
convert that loan into 20 and 30 year mortgages, “Lent the “Borrowers” Money back to
them” then sell the promise to pay to an investor. Thus not being the holder of the

note. . .this will be proven during this case.

143.An agent, would contract with a seller to find a buyer, then bring both seller and buyer to
a “lender” who would secure the title from the seller using the funds “borrowed” for that
purpose then trade the title to the buyer in exchange for a promise to pay a certain
amount over a stipulated term. The lender, however, has created a 20 or 30 year
mortgage with the fake money therefore, as soon as the closing is consummated, the
promissory note is pooled together with others and sold to an investor because the note
was paid in full and not owed. All of the house payments are gravy and the Mortgage
company/bank does not file these profits with the IRS.

144.The lender signed over the promissory note to the investor at the time of the trade,
but did not sign over the lien document The State of Kansas Supreme Court
addressed this issue and stated that such a transaction was certainly legal,
however, it created a fatal flaw in that, the holder of the lien document, at time of
sale of the security instrument, received consideration in excess of the lien
amount, and therefore, the lender could not be harmed and the lien became a void

document So you can not foreclose. . .. get it.

145.0nce the “Note” and “Deed of Trust” were separated, then the Lender could not

collect on them and had no authority to foreclose.

COMPLAINT 19 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 20 of 25

146.0nce the “Note” was satisfied through the Treasury, Look at Allonges on the note

then it was not collectable. Fraud by Conversion.

147.This begs a question, if keeping the lien would render it void, why would the lender not
simply transfer the lien with the promissory note? As always, follow the money. The
lender will hold the lien for three years, file an lnternal Revenue Form 1099a, claim the
full amount of the lien as abandoned funds, and deduct the full amount from the lender’s
tax liability. The lender, by this maneuver, gets consideration a second time and still the

lender is not done profiting from the deal.

148.After sale of the promissory note, the lender remains as the servicer for the
investor. The lender will receive 3% of each payment the lender collects and
renders to the investor pool. However, if the payment is late, the lender is allowed
to assess an extra 5% and keep that amount. Also, if the loan defaults, the lender
stands to gain a considerable amount for handling the foreclosure . (The Trustee’s
get on a average of $55,000 for each foreclosure what an incentive to default

peoples homes)

149.The lender and servicers and Trustees Defendants, stand to profit far more from a note
that is overly expensive in the first instance, then slow to pay in the second, then
ultimately fails in the third, than from good stable “loan”. And where, you may ask,
does all this profit come from? lt comes from the equity the lender convinced the

borrower to invest in the new purchase, and still the lender is not finished profiting from

the deal.

150.The last nail was driven in the American financial coffin on the last day of Congress in
2000 when they removed a restriction that had been in place since the economic collapse
of 1907. At that time, investors were allowed to bet on stocks without actually buying
them. This unbridled speculation lead directly to an economic collapse so the legislature
banned the practice, until the year 2000. The money changers got their way on the last
day, the last act of the session, when congress opened the process against and it took

only 8 years to crash the stock market again.

15l.The Defendant(s) was not done profiting from the loan Defendants created Defendants

were then free to bet on the failure of the security “See the Goldman and Sacks Lawsuit

today”.

COMPLAINT 20 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 21 of 25

152.The unsuspecting consumer was lulled into accepting the pronouncements of the Agent,
the lenders, appraisers, underwriters, and trustees and servicers as all were acting under
the cover of government regulation Unfortunately, the regulations in place to protect
the consumer from just this kind of abuse were simply being ignored. All

“Defendant(s)” are ignoring the law.

153.The loan origination fee from line 801 of the HUDl settlement statement is the finder’s
fee paid for the referral of the client to the lender by a person acting as an agent for the
borrower. Hereinafter, the person or entity who receives any portion of the yield spread
premium, or a commission of any kind consequent to securing the loan agreement
through from the borrower will be referred to as “Agent.” The fee, authorized by the
consumer protection law is restricted to 1% of the principal of the note lt was intended
that the Agent, when seeking out a lender for the borrower, would seek the best deal for
his client rather than who would pay him the most. That was the intent, but not the
reality. The reality is that Agents never come away from the table with less than 2% or
3% of the principal. This is accomplished by undisclosed fees to the Agent in order to
induce the Agent to breach his fiduciary duty to the borrower and convince the borrower
to accept a more expensive loan product that the borrower qualifies for. This will
generate more profits for the lender and, consequently, for the Agent. “Not disclosing
that the “Borrowers” ‘Note” funded the whole thing to begin with the “Bankers”,
“Mortgage companies” would not even pretend to follow the FDCPA, , RESPA and
TILA in their pretense there is a “Mortgage” and or “Deed of Trust”

154.1t is common practice for lenders like COUNTRYWIDE BANK, FSB to coerce
appraisers to give a higher appraisal than is the fair market price This allows the lender
to increase the cost of the loan product and give the impression that the borrower is
justified in making the purchase This is what COUNTRYWIDE BANK, FS Bdid to us
the Plaintiff(S) besides our note satisfying the debt at closing

155.The COUNTRYWIDE BANK, FSB and its agents then charges the borrower an
underwriting fee in order to convince the borrower that someone with knowledge has

gone over the conditions of the note and certified that they meet all legal criteria.

156.The entire loan process is a carefully contrive connivance designed and intended to

induce to unsophisticated borrower into accepting a “loan product” that is beyond the

COMPLAINT 21 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 22 of 25

borrowers means and Defendants do not disclose what Security Instrument means nor

that the “Borrower(s) signature funded their own “Loan”.

157.The trustee, FIDELITY NATIONAL TITLE INSURANCE CO. at closing, participates
actively in the deception of the borrower by placing undue stress on the borrower to sign
the large stack of paperwork without reading it. The trustee is, after all, to be trusted and
has been paid to insure the transaction This trust is systematically violated for the

purpose of taking unfair advantage of the “borrower”.

15 8.FIDELITY NATIONAL TITLE INSURANCE CO., has injured Sterling
Mortensen by not keeping Sterling appraised of where his “Deed of Trust” and

“Note” were at all times

159.FIDELITY NATIONAL TITLE INSURANCE CO. also injured Sterling

Mortensen by not explaining the hidden fees at closing

160.FIDELITY NATIONAL TITLE INSURANCE CO., did not have Sterling
Mortensen sign the “Loan” Check at closing, some how, somewhere, Sterling
Mortensen gave the “Lender” and the ”Trustee” power of attorney and Defendants
.and or one of their agents, signed the “Loan” check at closing This is fraud by

identity theft.

161.With all this, it should be a surprise to no one that this country is having a real estate

Plaintiff(s) Will Prove the Following

Plaintiff(s) is prepared to prove, by a preponderance of evidence that:

162.“Defendants” have no legal standing to bring claims in collection or foreclosure against

the property; and the foreclosure there is a Fraudulent Foreclosure eminent

163 .None of the Defendant(s) are a real party in interest in any contract which can claim a

collateral interest in the property;

164.The “Note” and “Deed of Trust” are in a Security “Trust,” being traded and making a lot
of money for undeserving third parties

165.Even if Defendants were to prove up a contract to which Lender had standing to enforce
against Plaintiff(s), no valid lien exists which would give Lender a claim against the

property; There is no valid contract.
COMPLAINT 22 of 55

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 23 of 25

166.The “Note” and “Deed of Trust” were separated and this makes the Deed of Trust

unenforceable and the Note Satisfied

167.Even Defendnats were to prove up a contract to which RECONTRUST COMPANY,
N.A. had standing to enforce against Plaintiff(s), said contract was fraudulent in its
creation as endorsement was secured by acts of negligence, common law fraud, fraud by
non-disclosure, fraud in the inducement, fraud in the execution, usury, and breaches of
contractual and fiduciary obligations by Mortgagee, Lender, Beneficiary or "Trustee" on
the Deed of Trust, "Mortgage Agents," "Loan Originators," "Loan Seller," "Mortgage
Aggregator," "Trustee of Pooled Assets," "Trustee or officers of Structured 1nvestment
Vehicle," "lnvestment Banker," "Trustee of Special Purpose Vehicle/Issuer of
Certificates of 'Asset-Backed Certificates,"' "Seller of 'Asset-Backed' Certificates (shares
or bonds)," "Special Servicer" and Trustee, respectively, of certain mortgage loans

“Deeds of Trusts”, pooled together in a trust fund; and lending fraud.

168.Defendants have concocted a carefully crafted connivance wherein Lender conspired
with Agents, et al, to strip Plaintiff(s) of Plaintiff(s)’s equity in the property by inducing
Plaintiff to enter into a predatory loan inflated loan product; COUNTRYWIDE BANK,
FSB did this to Plaintiff(s) along with the Bank fraud they committed to “Lend”

Borrowers” own money back to himself as a “Loan”.

169.COUNTRYW1DE BANK, FSB, BANK OF AMERICA, BAC HOME LOANS
SERVICING, LP, FKA COUNTRYWIDE HOME LOAN SERVICING LP, received
unjust enrichment in the amount of 5% of each payment made late to Lender while

Lender and Lender’s assigns acted as servicer(s) of the note;

170.COUNTRYW1DE BANK, FSB, BANK OF AMERICA, BAC HOME LOANS
SERVICING, LP, FKA COUNTRYWIDE HOME LOAN SERVICING LP, FIDELITY
NATIONAL TITLE INSURANCE CO, “MERS” AND RECONTRUST COMPANY,
N.A. and assigns profited by handling the foreclosure process on a contract Lender
designed to default;

171.COUNTRYW1DE BANK, FSB, BANK OF AMERICA, BAC HOME LOANS
SERVICING, OP, FKA COUNTRYWIDE HOME LOAN SERVICING LP, defrauded

1nvestors (Hedge Fund) and Sterling Mortensen by converting the promissory note

Sterling Mortensen created that Lender intended to default, then converting said

COMPLAINT 23 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 24 of 25

promissory note to a security instrument and selling same to Investor while still servicing

the “Loan”;

172.Defendant(s) intended to fraud 1nvestor and the taxpayers of the United States by
withholding the lien document from the sale of the promissory note in order that Lender
could then hold the lien for three years, then prepare and file Internal Revenue Form
1099a and falsely claim the full lien amount as abandoned funds and deduct same from

Lender’s income tax obligation;

173.Defendant(s) defrauded backers of derivatives by betting on the failure of the promissory
note the lender designed to default; See Countrywide bank, fsb, WaMu and Goldman

and Sacks Lawsuits.7

174.Participants COUNTRYWIDE BANK, FSB, BANK OF AMERICA, BAC
HOME LOANS SERVICING, OP, FKA COUNTRYWIDE HOME LOAN
SERVICING LP, defrauded 1nvestor (Hedge Fund) and Sterling Mortensen by
converting the promissory note Sterling Mortensen created that Lender intended to
default, then converting said promissory note to a security instrument and selling

same to 1nvestor while still servicing the “Loan”;

175 ., COUNTRYWIDE BANK, FSB, BANK OF AMERICA, BAC HOME LOANS
SERVICING, OP, FKA COUNTRYWIDE HOME LOAN SERVICING LP et al, in the
securitization scheme described herein have devised business plans to reap millions of

dollars in profits at the expense of Plaintiff(s) and others similarly situated.

176.Defendant(s) defrauded backers of derivatives by betting on the failure of the
promissory note the lender designed to default; See The Goldman and Sacks

Lawsuit, Countrywide and WaMu.

PLAINTIFF(s) Seeks Remedy

177.1n addition to seeking compensatory, consequential and other damages, Plaintiff(s) seeks
declaratory relief as to what (if any) party, entity or individual or group thereof is the
owner of the promissory note executed at the time of the loan closing, and whether the
Deed of Trust (Mortgage) Secures any obligation of the Plaintiff(s), and A Mandatory
Injunction requiring re-conveyanceof the subject property to the Plaintiff(s) or, in the

alternative a Final Judgment granting Plaintiff(s) Quiet Title in the subject property.

COMPLAINT 24 of 55

 

Case 1:10-cv-OO298-E.]L-LI\/|B Document 1 Filed 06/15/10 Page 25 of 25

178.CLA1M: ADJUSTED TRUE BILL: $2,556, 772.26, USD per Defendant
COUNTRYWlDE BANK, FIDELITY NATIONAL TITLE INSURANCE CO, BANK
OF AMERICA, “MERS’, RECONTRUST COMPANY AND BAC HOME LOANS
SERVICING, LP, FKA COUNTRYWIDE HOME LOAN SERVICING LP, FOR A
SUM CERTAIN $15,340, 633.56. This is a True Bill. Brenda Burton and Steve Fritts

are asking for Clear Title to the home they purchased from Sterling Mortensen n

Statement of factual Accusation

Plaintiff(s) alleges each of the following to be true and accurate to the best of Plaintiff(s)’s

knowledge and belief:

Conspiracy Between Agent and Lender

179. COUNTRYWIDE BANK, FSB., conspired with FIDELITY NATIONAL TITLE
INSURANCE CO. to induce Agents to violate Agent’s fiduciary duty to Plaintiff(s)
while acting as an agent for Plaintiff(s) in securing a lender to provide funds to purchase
a residential property, hereinafter referred to as “the Property,” or “Property,” to be used

as the primary residence of Plaintiff(s) .

_180. Agents and Lender also known as Defendants, in acts of fraud by non-disclosure,
assured Sterling Mortensen that the loan product would be far less costly than counter

defendants knew said loan product would turn out to be

181.COUNTRYW1DE BANK, FSB AND FlDELITY NATIONAL TITLE INSURANCE
CO, in an act of common law fraud, represented the property, the current real estate
market, the loan product of Lender, and other conditions of the prospective purchase as

far more favorable than they actually were (the house is worth less than 500 thousand

dollars now).

182.Agent and Lender, in acts of fraud by non-disclosure, assured Plaintiff(s) that the loan

product would be far less costly than defendants knew said loan product would turn out
to be

183.Agents, conspired with FIDELITY NATIONAL TITLE INSURANCE CO. and
COUNTRYWIDE BANK, FSB to receive commissions in excess of the 1% maximum

allowed by the Real Estate Settlement Procedures Act, in return for Agent’s breach of

Agent’s fiduciary duty to Plaintiff(s) by inducing Plaintiff(s) to accept a loan product

COMPLAINT 25 of 55

 

